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                                                                         April 30, 2019

VIA ECF
Honorable Alison J. Nathan
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

                  Re:      Lisa Snead v. City of New York, et al.,
                           16-CV-9528 (AJN) (DCF)

Your Honor:
        I am an attorney assigned to represent the defendants in the above-referenced matter.
Defendants write to supplement their motion for summary judgment (ECF Nos. 129 to 131) in
light of the Second Circuit’s recent decision in Lanning v. City of Glens Falls, 908 F.3d 19 (2d
Cir. 2018). 1 For the reasons set forth herein, plaintiff’s claim for malicious prosecution should
be dismissed because she has failed to establish that her criminal prosecution was terminated in
her favor.
        Plaintiff’s claim for malicious prosecution should be dismissed because her charges were
not dismissed in a manner which affirmatively indicated her innocence. See, Lanning, 908 F.3d
19, 28). To establish her malicious prosecution claim, plaintiff must demonstrate: (i) the
commencement or continuation of a criminal proceeding against her; (ii) the termination of the
proceeding in her favor; (iii) no probable cause for the proceeding; and (iv) that the proceeding
was instituted with malice. See Mitchell v. City of New York, 841 F.3d 72, 79 (2d Cir. 2016)
(citations and quotation marks omitted). The Second Circuit recently held in Lanning that
“federal law defines the elements of a § 1983 malicious prosecution claim” and “requir[es]
affirmative indications of innocence to establish ‘favorable termination.’” Lanning, 908 F.3d at
25. The Court in Lanning further held that “where a dismissal…leaves the question of guilt or
innocence unanswered, it cannot provide the favorable termination required as the basis for” a
claim of malicious prosecution. Id. at 28-29 (citation omitted). Defendants are cognizant that the
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  Defendants moved for summary judgment on February 5, 2018. That motion was fully briefed on April 6, 2018.
On September 18, 2018, the Court administratively denied the motion pending the resolution of certain discovery
disputes. On April 23, 2019, on consent of all parties, the Court granted the parties leave to re-file their motions for
summary judgment. Defendants re-filed their motion for summary judgment on April 30, 2019.



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Second Circuit in Lanning noted that a speedy trial dismissal, while neutral as to guilt or
innocence, could constitute a favorable termination. See Id. at 27, n 6. However, the question of
“whether a given type of termination was favorable to the accused is a matter of law for the
court,” based on the particular factual circumstances of the case. Murphy v. Lynn, 118 F. 3d 938,
950 (2d Cir. 1997). The Lanning Court also acknowledged that “the government’s failure to
proceed does not necessarily impl[y] a lack of reasonable grounds for the prosecution.” Lanning,
908 F.3d at 28 (citing Conway v. Village of Mount Kisco, 750 F.2d 205, 215 (2d Cir. 1984)).
        Because the plaintiff bears the burden of proof on all elements of her malicious
prosecution claim, it is her burden to adduce evidence that the dismissal of the charges against
her was in some way related to the merits of the case and affirmatively indicated her innocence.
There has been no such evidence adduced in this case. In fact, the criminal court and district
attorney’s files indicate that the prosecution was ready to proceed to trial on this matter on more
than one occasion. (See, Record of Court Action, Docket No. 2015NY040259 (“Court Jacket”),
annexed hereto as Exhibit A; Affirmation of Edward Barrett, dated April 20, 2016 (“Barrett
Decl.”), annexed hereto as Exhibit B). The prosecution filed a certificate of readiness on
November 24, 2015. On December 8, 2015, the prosecution answered ready for trial, but due to
a lack of available court parts to try the matter the case was put over to February 1, 2016.
(Barrett Decl., Ex. B). On February 1, 2016, the prosecution was not ready, and the matter was
adjourned to February 16, 2016. (Id.). On February 16, 2016, the arresting officer was not
available, and the case was put over to April 18, 2016. (Id.). On April 18, 2016, the prosecution
answered ready, but the case was put over due to the plaintiff’s motion to dismiss on speedy trial
grounds. (Id.). The plaintiff has adduced no evidence to support a claim that the delays in
prosecuting this matter were due to the merits of the case, rather than what appear from a review
of the file to be scheduling difficulties. Accordingly, she has not established that her prosecution
terminated in her favor and her claim for malicious prosecution should be dismissed.
        At least one district court has interpreted the Lanning decision to support the dismissal of
a malicious prosecution claim where the underlying prosecution was dismissed on speedy trial
grounds. See Thompson v. City of New York, et al., No. 17 Civ. 3060 (DLC), 2019 U.S. Dist.
LEXIS 4848, at *10 (S.D.N.Y. January 10, 2019). The court held in Thompson that, under
Lanning, the dismissal of a plaintiff’s case “on speedy trial grounds does not affirmatively
indicate his innocence, as required under Section 1983.” Id. Accordingly, the Court dismissed
the plaintiff’s claim for malicious prosecution.
       For all of the foregoing reasons, plaintiff’s malicious prosecution claims in the present
matter should be dismissed with prejudice because she cannot satisfy the favorable termination
element of the claim.




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        Defendants thank the Court for its consideration.
                                                            Sincerely,

                                                            /s/
                                                            Hannah V. Faddis
                                                            Senior Counsel
                                                            Special Federal Litigation Division
Encl.

CC:     BY ECF ONLY
        Gabriel Harvis
        Baree Fett
        Counsel for Plaintiff




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